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            EXHIBIT 2
         DECLARATION OF FREDRIC W. PRICE


       United States of America v. State of Idaho et al.
               Case No. 1:22-cv-00236-DCN
       Case 1:22-cv-00236-DCN Document 30-3 Filed 10/07/22 Page 2 of 17
                                  Exhibit 2


   APR-28-2006 FRI 02:55 PH BLM IDAHO FALLS/DO                    FAK NO. 208 524 7505                     P. 21




                                                   Bauscher Ranch, Inc.

                              Winter Address                             Summer Address
                           1674 .LeadvillcAv�c                               .P.0. Box 333
                           Boise, Idaho 83706                          Faiificld, ldaho 83327

            Mr. NonmnM. Scmanko
            Barker, Rosholt & Simpson. ll.P
            P.O. Box 2139
            Boue, ld:lho &3701-2139

            Re: Withdr.1111) of objections to federal stockwater claims in my BLM grazing allo�nts.

         DeuMr.S�manko:

         After �scussing the man.er with both BLM and Famst Service Employ�. it is my understanding that
         you filed objci:lions 10 all federal stockwatcr claims in WataBasin 37. Your objections were fil¢ for
         your clieot.s with ranches and. fe.dcta1 :ruin& pemii.rs locaied entirely somh of the Snake Rivet. I have
         been informed tlut none of your clients have uy 'BLM aniing righr£ in my Black Canyon and Deer
         C� allotments. I sec no reason for you to file objet:tions h= because cone of your people am
         affected by any of the-�.-ti:ht �l2ims hen: in mis basi:n-re�ess of who made the claims.

          The stockmcn here w� aware of Bl.M's plans vezyeady             m�         Acljww:ati011. The Shoshone
          BLM employee wbo filed lht stoc:kwate:r clJims on BLM lalld camc.10 our Di.suict GJDing Advisory
          Boud, in rc:u.lar session, an,:i explained dial BLM planned to file stockwarc- claims on �c BI.M.land
       . in behalf of the stod:mcn to save rbcm time and lDDDISJ'Dd avoid confusion. It ma.de a lor o( sense for
          tbe BLM 10 file waw claims on lhcir land liiKWllitm ai one. lime. We wi=i: told Iha! we s_hould file
         adjudication w.u=- claims on any duded ground we htld 1n any of our allotments because BLM would
          not filetora � right on     pnva!e   land ualtss rhe.y.he!d a si:;ncd easement and bad a wau:r- pcnnit or
         license L"'Om the Stare o!Idaho. We       w= advised to u!kto the State �ds people about any walin
         -on our S1aie lcase.s. 1hat appmai;a.s=med �oual:Jc ra l!I af as. azt'a the     B1,1anf 11pprtwcd that
         approach.. No one.had.any qua=l.wlrh� wasr:t riahm "'ciujin lhc name o(a �d owur, including
         � fcdcraJ ;ovCfflJ?lent. Now aftt:r all thcg yc:in, I find o\lt lhat you do Dot like • our amnge.ment
                    l•                         +


        I want you to immediardy wirhdrui all.your objecdom IO �BLM-warcr�laimS on BLM land jn my
        Black Canyon and Deer CrccJi: anits. I asked the Shosbono BLM Office to sand me a. list of their
        cl:aims �d have jncluded tharlist with this terr.er. hbo want yo11 ro send me some evidence chat you
        followed :hrough on this. I don't want lo.find out la:cr lhal yo11 did no, tab:Jhis l=ai=r sc:riously. ·




       ·. cc; Adjudication Coiut; St.at.i Auomcy Q




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                                                             FAX NO. 206 524 7505               P. 22
 APR-28-2006 FRI 02:56 PM BLM IDAHO FALLS/DO




              Bauscher R.allCh Inc. Grazing J.Uotments With Public Land Water
                           Right Claims For itock water Made By
                        The United States, J.leparnnent of Interior,
                                 Bureau ofumd Mauacemenc

             .1$1.A~K CM'YQN ALLQTMfilff, ~o. 90418

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             37-o2807                                                               37-19199
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             37•028.10"      JT-181 59          n.·a209             37-112 82       37-19200
                                                                                    37-19201
             37-02t 41       37-181 51          rr- -1210           37-112 13
                                                37.• 1211           37•11286        37-192.02
             37-02904        37•1"8163
                                                -:r,. 12'12         37-18292        37•192 03
             37•029-13       37-181 65
                             ;17•181&&          37-' l'l13          .37•1.8293      37--19204
             3NJ29 39
                             37-181&8           37.· 8215           37-182 96       37-19o07
             37-0294-1
                             37-181'15          37-·az 11           37· 1-1298      37-19508
             37-02948                                                               37-196 09
             37-02953-       37-18176           37- 8218            37-182 99
                                                37.· -9219          3'1-18300       37•195 48
             37•02962        97-l8 1n
                             37-181 71          37.· 9221           37•183 04       37•19549
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             37-02965·       37-18179           :r,.·a:m            37-113G&        37-19$30
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             37-02993
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             37•0S0 17       37-a112-          E:fKtbM'                             37-202 22
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                                                -:r,.· 8239         37-183 19       37-202 23
             37"°3075       31•111 15
                            37-18186            37-'.8240           .17•.1 mD       37•20224
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             l7-CM197       37-li1 90
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                                                37-11253            37-113 36       37•2Gi40
             37412 61       37•1'1 98
                             37·1-81i9-         37-1-8254           37·18 34f       37•20241
             37-G;4355                                                              37,20254
             37-08042       37-t8200            31•18255'           37-18344
                            3T-t1Z gz"          :rz-·1112&4         l7-1A 47 .      3N!OU 5
             37•081 '2
                            37-1.8203.          31.·11255           37-113 C3       37-202 56
             37-081 63
                            37-18204            37-"i825&           37-183 69       37-20260
             37•1811'&
             37•181 47      37-18205-           3-7-'182'7          37•1838&




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       Case 1:22-cv-00236-DCN Document 30-3 Filed 10/07/22 Page 4 of 17
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   APR-28-2006 FRI 02:56 Pn BLM IDAHO FALLS/DO                FAX NO, 208 524 7505    P. 23




               B~uscher Ranch Inc. Grazing A.Jotments With Public Lud Water
                           Right Claims For :;:ioctwater Made B1
                         The United Stat5, I •epartment of Interior,
                                   Bureau-ofLarut Management

             DEER CHEE!'. AJ,XcIQMENT, No. i>ll4

                  37.Q3139     37-18400          37-18'15
                  37-o3141     31•1&401 ·        371141&·
                 ,37-03142·    37•18402          37·111411
                 }37•03144     37-18403          37-,8C28
                 37-03145      37-1840f          37•19211
                 3Nl314&       37-18405          37·19212
                 37•18393      37-JM.06.        .J7·.t921.1
                 37~18394      37-184117         37'·19214
                 37-18395     "37•18'aa        37-19429
                 37-18396     31-18409         37·-10151
                 37-18397     37-18410         37•.zo11s·
                37·18398      37•184lJ         ..37•?0242
                37-18399      37-18414          '31· !0243




                                              Exhibit 2




Exhibit 2                                  Price Declaration                         Page 3 of 16
         Case 1:22-cv-00236-DCN Document 30-3 Filed 10/07/22 Page 5 of 17
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  APR-28-2006 FRI 02:54 PM BLM IDAHO FALLS/DO                      FAX NO. 208 524 7505               P. 15




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                                            HOWE, llWIO ltJ244

        Kr • .Narman H. S3manko                                                   -FebruaJ:yl.,2002
        IJilrker, ~bolt & Simpson,
        P-0..Box 2139--           .
        Boise, Idabo ..83701-2139


        Dear    Si.rs:
        We understan~ that.. y0u.-.bava .f il.ad-Ob-joi:tions to all.-stOCICVater ·clauns in Deep
        creek,Pi'tl8line: 'Water· Right. t33-07125 (330:M88030) · and·Sheep Spring Pipel.ine:
                                                   1

        Water .Ri_ght f:33- 02145 (3303488003).      Since your .objections - ~ .£iled for your
        c:li.ents .vitb rasx:hes and .federal. ;irazing. pe.niits located ·entimly sou.th of the
        Saa.ka River and J.OU do not run .cat~or. sheep in.. these...al Jotaeot:s ~ -are ,.r:e-
        :iµest:.irg. tba~ rc-.vit.bdrav. all :,our ab-j~iDIJS to all lltH Witter claim oa-public-
        land Iiithin out ;razing_ aJ.J.ot=nts. The BU1 were within their .~             to make. these
        stockllclter ri;hr. Win.rs on· water appurtenant to the pw,l.fo land. The BUf stodc-
        wter cl.aim vere JaldQ in .behaJ..f of. and. fm: .the. benefit of, these t>f ·as woo -are
        petmitt~ to graze livestock on BUI ;iround. By- mking those watei:- cla~ the • Bf.M
        has saved us lllllc:h. llllJD.ey4 tiJm. and.-~ ~ -made it possJ ble for .us to 1l0ke a
        ilviJr1 in the livest.oclc industry_ we consider this as part of Idaho's economy.
        It· is- bard enoggh ror smaU ·o peratlons such as 011rs without: h a ~ to ·fight other
        randiers.• .Ji!·.ue au ia this lluiiiaess togetaer and should -try to co-operate with
        00e>·i!tDOtller.
                                                  Exhibit 2

                                                                     Sincerely,

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Exhibit 2                                     Price Declaration                                       Page 4 of 16
        Case 1:22-cv-00236-DCN Document 30-3 Filed 10/07/22 Page 6 of 17
                                   Exhibit 2

 NOV-27- 1111 1111•23 FROM•CACl      INC                                JD,21118 3B7 0842               PACE      2/4



                                           PICABO LIVESTOCK CO.                              RECEIVED
                                                    Box 688
                                              Picabo, Idaho 8334&                              NOV 2 7 2001
                                                    ph 208-788-3530
                                                    6u 208-788..0l 14                          0OJ/BOlSE

      November 25, 2001

      Mr. Norman M. Semanko
      Barker, Rosholt & Simpson, LLP
      P.O. Box 2139
      Boise, Idaho 83701-2139

      Re: Withdrawal ofobjections to federal stockwatcr claims in my BLM grazing allotments.

      Dear Mr. Sc:manko

              I understand that you 6Jed objections to 11U BLM stoclcwater claims in Water Basin 37. Those
      obje~ions were fflcd on behalf ofyour clients whose livestock operations arc headquartered and located
      entirely solllh ofthe Snake ruver. I don't think any of them nm cattle or sheep on land managed by the
      Shoshone BLM Office.

              I understand that you also filed responses to Bl.M's objections to private-party clailm on BLM
      land in Water Basin 37. You 6.lcd a response to Bl.M's objection to my water right claim number 37-
      )2014. I worked with the BLM and other officials to correct some errors in tlw water right filing and I
      am satisfied with the result. You withdrew that response after the BLM and I agreed on the changes. I
      appreciate your withdrawal.

               By this Jetter l am requesting that you also immediately withdraw all your objections to all BLM
      water claims on public land within my grazing allotments. The BLM risJitly made those stockwatcr
      right filings on waters appurtenant to the public land. The BLM stockwater claims were made in behalf
      o~ and for the benefit of, those ofus who are~~~ graze: livestock on SLM ground. By making
      those water claims the BLM also saved me money, time, and cffon.

              I do not wish to be involved in legal maneuvering in my grazing areas. The Shoshone BLM
      people have worked weU with OUf ranch for DWl)' years and I appreciate that. I have no dispute with
      them about water riibts or any other issues concerning our grazing lands. I asked them for a list of all
      the BLM watc:r right claims for stockwater in the giazing allotmi:nts where: \ plan to continue to run
      livestock and I have included that list as pan ofthis letter. Again, l ask that you immcdiatc:Jy withdraw
      your objections for each of the water right numbers shown on that lists and that you provide me
      doc~nted written proofthat you have complied with this Request.

      Sincerely,

       ~;1.0~
      L. N. (Bud) Purdy

      cc: IDWR, BLM, U.S. Otpart of Interior, U.S. Depart ofJustice, Snake Riwr Adjudication Court




Exhibit 2                                       Price Declaration                                        Page 5 of 16
        Case 1:22-cv-00236-DCN Document 30-3 Filed 10/07/22 Page 7 of 17
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 NOV• 27 • 01 10 , 24 FROH , CACl   INC                     10,209 387 0842




                          Picabo Livestock Company Grazing Allotments
                       With Public Land Water Right Claims For Stockwater
                       Made By The United States, Department of Interior,
                                 _Bureau Of Land Management



         TIMBER GULCH ALLOTMENT. No. 80209
            37-14482
            37-17321

         KENT CANYON ALLOTMENT, No. 80214

            37-14584      37-14596        37-14645
            37-14585      37-14598        37-14652
            37-14587      37-14633        37-14653
            37-14S88      37-14634        37-14654
            37-14589      37-1463S        37-16621
            37-14590      37-14637        37-16623
            37-14591      37-14640        37-16635
            37-14592      37•14641        37-16637
            37-14594      37-14643        37-16891

         POISON CREEK ALLOTMENT. No. 80Z15
            37-02927      37-14706        37-16l h"b· 2
            37-07961      37-14709        37-17 X I It
            37-14683      37-14713        37-17305
            37-14687      37-14718        37-17362
            37-14691      37-14720        37-17363
            l7-1469Z      37-14721        37-17364
            37-14694      37-14731        37-17366
            37-14695      37-14734        37-20146
            37-14704      37-16645

         SCA..TTERED TRACTS ALLOTMEST. No. 80239
            37-14630      37-14665
            37-14632      37-16926
            37-14633      37-16931
            37-14647




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 NOV - 27- 01    10 , 24 FROM , CACJ   INC                     JD , 208 :JB? 0842   PAC£   4/4




          PICARO ALLOTMENT. No. 80601

                37,02873     37-1582&        37-20121
                37•02990     37-1S840        37-20126
                37-03019     37-15841        37-20128
                37-03043     37-1S846        37-20136
                37•03107     37-15847        37-20139
                37-03117     37-16531        37-20214
                37-03137     37-20080        37-20264

         TIMMERMAN HTU,S AI,J.QTMENI, No. 8060S
            37-03020         37-14344        37-15105    37-16517
            37-03067         37-1434S        37-15113    37-16707
            37-07!)68        37-15067        37-15126    37-16721
            37-08026         37-1S068        37-15127    37-17203
            37-08027         37-15069        37-15131    37-17290
            37-08028         37-15093        37-15160    37-20084
            37-08029         37-15098        37-15172    37-20167
            37°08030         37-15102        37-15549

         LEDUC CANVON ALLOTMENT, No. 80612
            37-03117
            37-20128



                                                   Exhibit 2




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                                        Exhibit 2

., ·◄ . z   F'ES 20 '0Z     01: 01PM a.M IDAHO F'ALLS                                                     P.2




              Pchruary 6, 2002
              Mt. Norman M. Semanko
              Baker. Rosholt & Simpson, LLP
              P. 0. Box 2139
              Boise, Idaho 83701-2139
              Dear Mr. Scmanlko:
              WITHDRAWAL OF OBJECTIONS TO PRDERAL STOCK WATER CLAIMS IN OtiR
              BLM GRAZING AJ.LOTMENTS
              lt has come to our mention that you have filed objections tO four federal stock Wllter claims
              in 'W.aw- Buin 33. We ■re aaking that you withdraw all of your objection, to the BLM water
              claims on BLM J:md in our Squaw Cteek, Bell Mountain, Undc Ike :and Warm Springs
              allotmentS-

              We have had a good working relatiomhip with the Bureau of Land Management with
              regards to &tock W11tcr claims for many years, and we see no reason to change our current
              arrangement. The current fedcC'al stock vntcr claims amngcment ia efficient and saves us
              the time and cffon that would be tequiicd to handle our own claims.
              The (otlowing page contains :i. detailed list ot water righb that we are requesting to be
              withdraw!] from your_objection.



              Sincerely,


              r~~ if➔ ~
              James Andreason                      Ouyl :i\ndreaaon
                                                           Exhibit2

                            Cnig Murd~ck
                   /YJ &A. ""Joe.I, Po.. .r"' s
                  ~~
              cc:  Idaho Department of Water Resources, Bureau of.Land Mana,cment. U S.
              D~artment of Interior, U. S. Department of Juauce. Snw Rm:r ~djudiation Court




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• ..[ • .,, FEB 20 '02
                                    Exhibit 2

                         01:01F'M BLM IDR-0 FALLS                                                    P.3

                                                                                     Pcbcull}' '· 2002
                                                                                                                        -
                                  little Lo1t River Permirtees Grazing Allolfflmts
                               With Public uand Water Right Cairns For Stock Water
                                    Made By The Bure2u Of Land M211agemenr




            Squaw CrcCKhl!PttDcot, No. 02011
            33-07070
            (3303488021)




            Bell Mguntain AlJomw,t, No. 0101 S
            3.3-07125
            (3303488030)




            Jludc: IlFr /illotmmt No. 02006
            33•07095
            (.3303488028)




                                                      Exhibit 2

           3.3-02i4s
           (33034B8003)




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                                     Exhibit 2
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                                                                                                         rw u2
                                                                                                                         •

              BERT L, & DORIS F- &'l'CH               \
              BC 62 BOX 2160
              MAY, lD,\ltO 83253-960'3
              (208) 616-4422

              Feb.8 2002

              Mr. Norman M. Semanko
              &rker, Roiholt & S.llllpson, LJ.P
              P.O. 'So~ 21}9
              Boiee, Idaho 83701-2139

               Re, Withd.-aval of objections to Federal atockwater claim~ in IIIY BLM
               grazing allotments.
               lieu Mr. Semanlco,
                                                                                                              ,;   ...
~"¥~l:.:t"l).-·"'tiit~iitaitd' iliii9ou''~.trfed ~tit.jicifion•l to··,~lili •BLN~•t·o·ctw~t.r'"o ~ · ,
          ·   · in Yater lilaiit ,1. · 11) this atttt v■ ··requa■t that JtAi. i11111■dJatel,1 1ori th-
                drav all your objectlona to all water on Federal landa within our grazin~
                allotmenta. Wa do not wish to ba involved in legal maneuvering in these
                areas. We ask that you i~ediataly withdraw your objections tor eacl\
                or the vGtllJ:' right. nwnbera liste4 'below and you p~ovide us vith documented
                v.r:itten ~roof that you have ooo~lied with this re~u~st.

               SIJi-11'"1'1' CR:.""EK ALLO'l'rZNT         DONKF.r H!ttS ALLO'll'IE:AT
               n-02146                                    ,,-10924
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               ,,-10927
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               Sin~~n~ely,    ~ i-~
               Bert L. !latch




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                                            Exhibit 2

           APR 28·2006 FRI 02:56 PM BLM IDAHO FALLS/DO
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                                                                       1742 !. 2900 S.
                                                                     wcnocn_ J.ct mss
                        Iauaiy I, 2a02
                        Mr. Nan!lall II Semnkn
                        Bllb:i. Jwl,olt ~ SimpsoJI. LLP
                        J?.O.Bax213!>
                        Bo~ Idaho &3701-2139

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                        allotmeats.




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                       Wa Basin 31. those obj~ ~1ilcdau behali'of,aur clicnts,vb.ose livestock
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                       Wilter claials ou public lurf~   .our pzmg alhmm:ms. We da Mt wishto be iuvolv=l                             I

                       in legal ~ m our grazins ms. W.: ak 'dzal you munr:diascly 'Widadr.L\V)'Dut                                 .t
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                       37-13676.          31-13612
                       37.131§93          S7•13S6 .
                       37--13£:)7         31-13691
                       37-131';!'9        37.13100
                       31-U':Ol           37-13102
                       37.1.3705          37-13719
                       J1-198j$           37-19156
                       31.igm             31-19116
                       31-19905           37-19933
                       37-19934                                                                                      I




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  APR-28-2006 FRI 02:53 PM BLM IDAHO FALLS/DO                  FAX NO. 208 524 7505                                   P. OS




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                                                                                                     : 01-,· • • ~
                                          Pass-creek Cattle A3sociation
                                              C/O Harty Crawford
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                                                3384 W.3800 N
                                              Moore. Idaho-8325S           ,.:01
                                                                                            MAR 12 2002              ou,
            February i1, 2002

            Mr. Norman M. Semanko
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            Bnrker, Rosholt & Simpson. LLP
            P.O. Box 2139
            Boise, Idaho U?0J-2139
                                                                           ·•                                -       ,_

            Re: Withdrawal of objection to federal stockwater cJaim in our BLM gr.aing allotment.

            Dear Mr, Semanko ·

                    We under.stand that you filed objections to various stockwater claims in Water
            Basins 37 aod 34. One of.these claims is4Jl.DW'.BLM araziag~nt. Since lhis
            objection·was filed for your clients whose opcratiom are located south ofthe·Snake Rivl!r
            and who ha~ .no .dealings on our allotment, we are requesting that you immediately
            withdraw all ymu-objectionsto our-BtM stockwatcr right #13.:07070
            (3303488021). This-watenightwaslegaffy -filed11nd approvcd·without objection with
            the Idaho Department ofWater lfesources, by the BLM. Prease immediately send us at
            the above addres&,written documented" proof that you have withdrawn your objection to
            this s t o ~ ~ t .            ·


                                                  Exhibit 2




            Cc: IDWR. BLM,U.S. Department oflntcrior, U.S. Department ofJustice, Snake
            River Adjudication Court




Exhibit 2                                     Price Declaration                                                      Page 12 of 16
       Case 1:22-cv-00236-DCN Document 30-3 Filed 10/07/22 Page 14 of 17
                                  Exhibit 2
HAY-01 - 06 06 , 57 FROM •CACI      INC                            ID • 208 387 0842                    PACE    2/S

                                      Lava Lake Laud & Livestock, L.1..
                                           3485 Sacra1Rento Street
                                       San Francisca, California 94118
                                               (415) 292-1764                                            IV
                                            FAX~ (415) 292-1766
                                                                                                1'1AY 2 e, zo
             May 16, 2002


            Mr. Norman M. Semanko
            Barker, Rosholt & Simpson. LLP
            P.O. Box 2139
            Boise, Idaho 83701-2139


            Re: Withdrawal of objections to federal stockwater claims in Lava Lake's BLM grazing
                allotm9nts


            Dear Mr. Semanko:

            I understand that you have filed objections to all BLM stockwaler claims In Water Basin
            37. These objections were filed on behalf of your clients whose livestock operations are
            headquartered and located entirely south of the Snake River. I am not aware that any of
            your clients run livestock on land managed by the Shoshone BLM Office and I am
            confident that none of them have graZing privileges In any of the allotments in whic:h we
            operate.

            I request that you withdraw all your objections to all BLM water claims on public land
            within my grazing allolmenls. The BLM rightly made those stockwater right filings on
            waters appurtenant to public land. The BLM stockwater claims were on behalf of, and
            ror the benefit of, those of us who are pemiltted lo graze livestock on BLM ground. By
            making those waler claims the BLM also saves me money, lime and effort
                                                  Exhibit 2                                 .
             I do not wish to be involved in legal maneuvering In my allolments. The Shoshone BLM
            professlonals are working constructively with Lava Lake. They have worked vigorously
            to transfer AUMs relating to numerous recent transactions and their responsiveness in
            other malters has been commendable. I have no dispute with them about water rights
            nor am I aware of any other points of disagreement between Lava Lake and 6i..M
            concerning our grazing lands. I have asked them for a list of the BLM waler right _ daims



         ~:f~~:~x=~~nu~ri~on~atlisl
            for stockwater in the a!/otmenls where we currently have grazing privileges and to which
            you object and I have included that list with this letter. Again, I ask that you withdraw




         l  Bnan S. Bean

            cc:   IDWR, BLM, U.S. Department of Justlce, Snake River Basin Adjudication Court
                        of
                  Office Idaho Attorney General (2)

            enclosure




Exhibit 2                                      Price Declaration                                   Page 13 of 16
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                                   Exhibit 2

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                   Lava Lake Land & Livestock Grazing Allotments
                  With Public Land Water Right Claims For Stockwater
                  Made By The United States, Department of Interior,
                              Bureau of Land Management


       KENT CANYON ALLOTMENT. No. 80214
       37-16633

       UPPER ROCK CREEK ALLOTMENT, No. 80219

       37-03101          37-14946        37-14952          37-14962          37-16508
       37-07975          37-14947        37-14954          37-14965          37-16665
       37-14931          37-14949        37.14955          37-14966         ·37-16667
       37-14943          37-14950        37-14959          37-14984          37•172U
       37-14945          37-14951        37-14961          37-14987          37-17215

       SOUTH EAST FORK ALLOTMENL No. 80227
       37-15250          37-15253        37-17053
       37-152S2          37-15254        37•17054

       INDIAN CREEK ALI~OTMENI, No. 80228
                                   Exhibit 2
       37-14819     37-15258      37-1665S                 37•19165
       37-14832     37-16653      37-17082                 37-20140

       QUIGLEY ALLOTMENT. No. 80229

       37-14842          37-15285       37-16737           37-20036          37-20039
       37-14852          37-15286       37-17103           37-20037          37-20040
       37-15275          37-15289       37-20035           37-20038        · 37-20041


       UPPER SLAUGHTERHOUSE ALLOTMENT, No. 80232
       37-1S299
       37-15300
       37-15301
       37-20043




 Exhibit 2                             Price Declaration                         Page 14 of 16
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                                   Exhibit 2

MAY - et - es es,se FROM , CACI   INC                       10 , 2ee 3B7 ee42          PACE    4/S




       WEST FORK FISH CREEK ALLOTMENT, No. 80321

       37-16086
       37-16087
       37-16108
       37-20064

       UPPER FISH CREEK ALLOTMENT, No. 80332

       37-16252
       37-16253
       37-16254
       37-16885

        IRON MINE ALLOTMENT, No. 80333

       37-16255           37-16291         37-16837            37-17061
       37-16256           37-16296         37-16839            37-17169
       37-16257           37-16315         37-16843            37-17170
       37-16258           37-16317         37-16845            37-20053
       37-16265           37-16547         37-16847            37-20160
       37-16266           37-16835         37-16849            37-20161
       37-16267
       37-16269
       37-16273
       37-16274
       37-16275                            Exhibit 2
       37-16286


       LAVA LAKE ALLOTMENT, No. 80334

       37-16323          37-16332         37-16345             37-16375         37-17065
       37-16325          37-16333         37-16347             37-16423         37-17070
       37-16326          37-,16335        37-16349           . 37-17063         37-20059
       37-16327




Exhibit 2                               Price Declaration                           Page 15 of 16
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                                  Exhibit 2

HAV-01-06 06,SB FROH,CACI   INC                   ID,208 3B7 121842              PAGE   5/5




     COTTONWOOD ALLOTMENT. No. 80335

     37-16300       37-16331        37-16438          . 37-16447      37-17062
     37-16305       37-16367        37-16440            37-16449      37-17067
     37-16306       37-16431      . 37-16442            37-16460      37-17068
     37-16308       37-16433        37-16444            37~16461      37-17069
     37-16328       37-16434        37-16445            37-16466      37-20055
     37-16330       37-16436        37-16446            37-17002      37-20058

     RICHFIELD ALLOTMENT, No. 80603

     37..03068
     37-03070
     37-04205
     37-15173
     37-20166

     TIMMERMAN HILLS ALLOTMENT. No. 80605

     37-15107

     LAIDLAW PARK ALLOTMENT, No. 80706
     37-02835
     37-03088
     37-03096
                                     Exhibit 2
     37-07966
     37-07972

     WILDHORSE ALLOTMENT, No. 80711
    37-02816        37-02861      37-03097            37-15865        37-20154
    37-02819        37..02862     37-03115            37-15866        37-20155
    37-02822        37-02863      37-03116            37-15867        37-20159
    37-02828      · 37-02883      37-04214            37-17309        37-201~2
    37-02857        37-02905      37-04216            37-17310        37-20168
    37-02858        37-02972      37-07970            37-17311        37-20169
    37-02859        l7-03093      37-07974            37-17312
    37-02860       ·37-03094      37-15864            37-20153

     KThfAMA ALLOTMENT, No. 80713
    37-02902




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